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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division

MICHAEL FLINN, et al.                          Civil Action No. 3:18-cv-00066-MHL

              Plaintiffs,

v.

EXPERIAN INFORMATION
SOLUTIONS, INC., et al.,

              Defendants.

                 PLAINTIFFS’ OPPOSITION TO DEFENDANT
          RIVERSIDE FEDERAL CREDIT UNION’S MOTION TO DISMISS

     Plaintiff Michael Flinn (“Mr. Flinn”) and Plaintiff Amelia Flinn (“Mrs. Flinn”)

(collectively, “Plaintiffs”), by and through their undersigned counsel, submit this

Opposition to Defendant Riverside Federal Credit Union’s (“Defendant Riverside”)

Motion to Dismiss.

     I.    Introduction

     Plaintiffs Michael Flinn and Amelia Flinn filed a Complaint (Doc. 1) on January 21,

2018, against multiple Defendants, including Defendant Riverside, alleging violations of

the Fair Credit Report Act (“FCRA”), 15 U.S.C. § 1681 et seq. In the Complaint, Plaintiff

Mr. Flinn alleges that Defendants Experian Information Solutions, Inc., American Express

and JP Morgan Chase Bank, N.A. violated the FCRA. Mr. Flinn pulled his Experian credit

report and noticed that his AMEX account, and two Chase accounts were reporting

inaccurately. (Doc. 1 ¶ 44, 46, 47). Mr. Flinn sent Experian a dispute letter requesting that


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it update and correct the inaccurate information. The information concerning Mr. Flinn’s

AMEX and Chase accounts were not updated, and thus violated the FCRA.

      In the Complaint, Plaintiff Mrs. Flinn alleges that Defendants Experian, Capital One

Bank, Department Stores National Bank, Synchrony Bank, and TD Bank N.A., violated

the FCRA. Mrs. Flinn pulled her Experian credit report and noticed that her Synchrony

bank account, Macy’s account, Kohl’s account, Riverside FCU account, and TD

Bank/Target account were reporting inaccurately. (Doc. 1 ¶ 29, 30, 31). Mrs. Flinn sent

Experian a dispute letter requesting that it update the inaccurate information. The

information concerning Mrs. Flinn’s Kohl’s, Macy’s, Riverside FCU, Synchrony Bank,

and Target account were not updated and continued to inaccurately report on her Experian

credit report – violating the FCRA.

      At no point in the Complaint did Mr. Flinn allege anything against Defendant Riverside.

The only allegations made against Defendant Riverside were concerning Mrs. Flinn’s

Riverside FCU account. Defendant Riverside’s Motion to Dismiss spends unnecessary

time and resources requesting that the Court dismiss the Complaint because Mr. Flinn

failed to state any claim against it. Mr. Flinn did not state any claim against Defendant

Riverside as seen in the Complaint, and it is only Mrs. Flinn who stated a claim against

Defendant Riverside and did so correctly. For these reasons, and the reasons set forth

below, Plaintiffs respectfully request that this Court deny Defendant Riverside’s Motion to

Dismiss in its entirety.

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   II.     Legal Standard

   “Where a motion pursuant to Rule 12(b)(6) contends that a plaintiff’s pleadings are

insufficient to show entitlement to relief, a court must resolve the motion by reference to

the allegations in the complaint.” Andrews v. Paxson, Civil Action No. 3:11-CV-518, 2012

U.S. Dist. LEXIS 19919, at *3 (E.D. Va. Feb. 16, 2012) (See Francis v. Giacomelli, 588

F.3d 186, 192 (4th Cir. 2009)). “The question then before the court is whether the complaint

contains ‘a short and plain statement of the claim showing that the pleader is entitled to

relief’ in both ‘law and fact.’” Paxson 2012 U.S. Dist. LEXIS 19919, at *3-4. (quoting

Giacomelli, 588 F.3d at 192-93). “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 548 (2007)). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged. Iqbal, at “When assessing a motion to dismiss for failure to

state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a court must

accept all well-pled facts contained in the complaint as true.” Sanders v. Bank of Am., Civil

Action No. 1: 16CV78, 2016 U.S. Dist. LEXIS 127092, at *3 (N.D.W. Va. Sep. 19, 2016)

(citing Nemer Chevrolet, Ltd v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir.

2009)). Finally, “[i]f the complaint alleges – directly or indirectly – each elements of a

viable legal theory, the plaintiff should be given the opportunity to prove that claim.”

Paxson, 2012 U.S. Dist. LEXIS 19919 at *4.




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   Here, Plaintiff Mrs. Flinn has met the legal standard. Mrs. Flinn clearly and indisputably

alleges sufficient facts sufficient to state a claim that is plausible on its face. The argument

below discusses in detail why this Court should deny in whole Defendant Riverside’s

Motion to Dismiss.

   III.    Argument

           A. Mr. Flinn did not allege a claim against Defendant Riverside and
              Defendant Riverside spends unnecessary time and resources arguing
              such.

       Defendant Riverside spends unnecessary time and resources arguing that Mr. Flinn

has failed to allege a claim against Defendant Riverside and should be dismissed. Plaintiffs

will not spend waste time and resources addressing Defendant Riverside’s allegations

concerning Mr. Flinn. The Complaint (Doc. 1) clearly indicates that it is only Mrs. Flinn

who had an account with Defendant Riverside, and it was Mrs. Flinn who disputed the

inaccurate information with Defendant Riverside. Nowhere in the Complaint (Doc. 1) does

Mr. Flinn allege he had an account with Defendant Riverside, or that Mr. Flinn disputed

any information with Defendant Riverside. Therefore, this Court should ignore or strike

Defendant Riverside’s argument concerning Mr. Flinn because that is not at issue.

           B. Mrs. Flinn has pled facts sufficient to allow the Court to draw the
              reasonable inference that Defendant Riverside is liable for the
              misconduct alleged.

       “[T]o bring a claim under § 1681s-2(b), a plaintiff must establish three elements:

(1) that he or she notified the [CRA] of the disputed information, (2) that the [CRA] notified

the defendant furnisher of the dispute, and (3) that the furnisher then failed to investigate

and modify the inaccurate information.” Alston v. Cavalry Portfolio Servs., LLC, No. 8:12-


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CV-03589-AW, 2013 U.S. Dist. LEXIS 24530, at *4 (D. Md. Feb. 22, 2013); accord

Alabran v. Capital One Bank, No. CIV.A. 3:04CV935, 2005 WL 3338663, at *8 (E.D. Va.

Dec. 8, 2005); Johnson v. MBNA Am. Bank, N.A., 357 F.2d 426, 429 (4th Cir. 2004);

Tieffert v. Equifax Info. Servs., LLC, No. 3:14CV609-HEH, 2014 WL 7240263, at *4 (E.D.

Va. Dec. 19, 2014)..

       Mrs. Flinn has undeniably established the three elements by pleading such facts in

the Complaint. (Doc. 1). Element one has been satisfied as the Complaint clearly states that

Mrs. Flinn sent Defendant Experian a dispute letter on March 25, 2017 and again on

October 2, 2017. (Doc. 1, ¶¶ 32, 39). Element two has been satisfied as the Complaint

clearly states Plaintiff’s allegation that Defendant Riverside received notice of the dispute.

(“Plaintiffs allege that Experian did in fact forward the Plaintiff’s dispute via an ACDV to

the Defendant furnishers.” Doc. 1, ¶ 91). Element three has been satisfied as the Complaint

states that the furnisher “failed to investigate and modify the inaccurate information.”;

(Doc. 1, ¶ 94-102). It is clear by Plaintiffs’ Complaint, that Mrs. Flinn met the legal

standard required to survive a motion to dismiss.

       Defendant Riverside’s Motion argues that the Complaint makes no allegation that

Riverside received notice of Mrs. Flinn’s dispute and cites to several cases that dismissed

FCRA claims due to plaintiff’s failure to plead facts sufficient to establish that defendant

was notified of the dispute by the CRA. Moreover, Defendant Riverside’s Motion to

Dismiss is full of language insinuating that Plaintiffs are engaging in “sleight of hand”

while Defendant Riverside itself intentionally omits distinguishing facts of cases that the

Defendant relies heavily upon as described in detail below.


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       In Turner v. JPMorgan Chase, N.A., No. TDC-14-0576, 2014 U.S. Dist. LEXIS

136332 (D. Md. Sep. 25, 2015), the court held that the plaintiff “neither alleges that she

filed a dispute with the credit reporting agency challenging the accuracy of her credit

report, nor that [defendant] had notice of an erroneous report through that reporting

agency.” Id. at *19-20. For these reasons, the Turner court granted the defendant’s motion

to dismiss plaintiff’s FCRA claim. Defendant Riverside

       The Case before us is distinguishable. First, the Complaint alleges that Mrs. Flinn

clearly indicated that she disputed the Riverside account with Experian (a CRA). Second,

the Complaint alleges that Defendant Riverside received notice of the dispute from

Experian and that Defendant Riverside failed to conduct an investigation as required by the

FCRA.

       Defendant’s reliance on Jackson v. Convergent Outsourcing, Inc., No. RDB-13-

1755, 2014 U.S. Dist. LEXIS 23355 (D. Md. Feb. 25, 2014) is also misplaced. In Jackson,

the court held that the plaintiff “has not alleged any facts showing that he filed a dispute

with the credit reporting agency, that [defendant] received notice of a dispute from any

credit reporting agency, or that the information provided by [defendant] was actually

inaccurate.” Id. at *7. For these reasons, the Jackson court held that the plaintiff’s claim

for a violation of the FCRA must be dismissed.

       Again, the Case before us is distinguishable. Here, there is not even a scintilla of

doubt that Mrs. Flinn did indeed file a dispute with Experian, TWICE! Additionally, a

simple reading of the Complaint clearly and unambiguously states that the Defendant




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Furnishers, including Defendant Riverside, received notice of the dispute from Experian

and that Defendant Riverside failed to conduct an investigation in violation of the FCRA.

       Defendant Riverside pretends that relevant allegations in Plaintiffs’ complaint were

not pled and cites cases where the complaints were dismissed because the plaintiffs failed

to dispute the accuracy of their consumer reports with the consumer reporting agencies. It

is clear, this is not such a case because Mrs. Flinn did dispute the accuracy of the Riverside

account with Experian, but Riverside failed to conduct a reasonable investigation to assure

maximal accuracy. For these reasons, Defendant Riverside’s Motion to Dismiss should

be denied in its entirety.

           C. Plaintiff Mrs. Flinn has adequately pled a claim for damages against

              Defendant Riverside under the FCRA.

       The FCRA imposes civil liability for negligent conduct, 15 U.S.C. § 1681o, or

willful conduct, 15 U.S.C. § 1681n, in failing to comply with the FCRA’s requirements.

Civil liability for negligent noncompliance with the FCRA provides the following relief:

(1) “any actual damages sustained by the consumer as a result of the failure; and” (2) “in

the case of any successful action to enforce any liability under this section, the costs of the

action together with reasonable attorney’s fees as determined by the court.” 15 U.S.C. §

1681o. Civil liability for willful noncompliance with the FCRA provides the following

relief: (1) “any actual damages sustained by the consumer as a result of the failure or

damages of not less than $100 and not more than $1,000;” or (2) punitive damages and (3)

“costs of the action together with reasonable attorney’s fees as determined by the court.”

15 U.S.C. § 1681n.


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       To plead a claim for willful noncompliance under the FCRA, “[p]laintiffs must

‘show that the defendant knowingly and intentionally committed an act in conscious

disregard for the rights of the consumer.’” Ausherman v. Bank of Am. Corp., 352 F. 3d 896,

900 (4th Cir. 2003) (quoting Dalton v. Capital Associated Indus., Inc., 257 F. 3d 409, 418

(4th Cir. 2001)). “Willfulness under 15 U.S.C. 21 1681n includes a reckless disregard of

the plaintiff’s rights.” Hill v. Equifax Info. Servs., LLC., 974 F. Supp. 2d 865, 876

(M.D.N.C. 2013) (citing Safeco Ins. Co. Of Am. V. Burr, 551 U.S. 47, 69 (2007)). In Safeco,

the Supreme Court of the United States held that “the common law has generally

understood [recklessness] in the sphere of civil liability as conduct violating an objective

standard: action entailing ‘an unjustifiably high risk of harm that is either known or so

obvious that it should be known.’” Safeco Ins. Co. Of Am., 551 U.S. at 68 (quoting Farmer

v. Brennan, 511 U.S. 825, 836 (1994)).

       Defendant Riverside incorrectly states in its Motion to Dismiss that Plaintiffs have

not pleaded any facts to support a finding that Defendant Riverside acted with reckless

disregard for Plaintiffs’ rights. In the Complaint, Plaintiffs state that when the Defendant

furnishers (including Defendant Riverside) received the ACDV from Defendant Experian,

the Defendants “could have reviewed [their] own system and previous communications

with the Plaintiffs and discovered that [the Plaintiffs] had filed bankruptcy in May of 2015,

and all of the relevant debts had been discharged.” (Doc. 1 ¶ 93). Here, the Complaint

clearly alleged that Defendant Riverside was aware of the bankruptcy and the bankruptcy

discharge of Mrs. Flinn and because of Defendant Riverside’s willful noncompliance of

the FCRA, it failed to investigate and report accurate information to Experian. When an


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individual declares bankruptcy and subsequently has the bankruptcy discharged, all

creditors are put on notice. Defendant Riverside cannot argue that it did not have notice of

Mrs. Flinn’s bankruptcy and bankruptcy discharge.

       It has been more than a decade since the Fourth Circuit decided Johnson v. MBNA

Am. Bank, putting all furnishers such as Riverside on notice of their duties to conduct a

reasonable investigation that of a “detailed inquiry,” “systematic examination,” a

“searching inquiry.” 357 F.3d 426, 430 (4th Cir. 2004); accord Wood v. Credit One Bank,

277 F.Supp.3d 821, 851 (E.D.Va., Sept. 21, 2017). The allegations in the Complaint are

that Riverside failed to conduct such an investigation, but rather relied on the e-Oscar

system which is an electronic system designed to perform a perfunctory corroboration of

meaningless information already in the furnishers systems. (Doc. 1, ¶¶ 85-102). Therefore,

despite having knowledge of the inaccuracy and its duty to investigate, Defendant

Riverside knowingly failed to comply with the FCRA when it did not investigate and

provide accurate information to Experian.

       Moreover, Defendant Riverside’s Motion to Dismiss states that Plaintiffs have

failed to plead facts to establish that they suffered any actual damages or injuries. In the

Complaint, Plaintiffs alleged that “[d]ue to the inaccurate reporting and damaged credit

reports, Plaintiffs have been denied credit and have been given inflated interest rates on

credit that they have been given.” (Doc. 1, ¶ 59). Further, Plaintiffs stated that there were

denied financing for a mattress and were given an extremely high interest rate when

financing for a new washing machine. (Doc. 1, ¶ 60, 61). These allegations alone are

sufficient to established the damages suffered by the Plaintiffs. Wood v. Credit One Bank,


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277 F.Supp.3d at 844. The inaccuracies on the credit report and damage to the credit report

were fundamentally caused by Defendant Experian along with the Defendant furnishers,

including Defendant Riverside. The Plaintiffs alleged that when they disputed the

inaccuracies on the credit report to Defendant Experian, Defendant Experian notified the

Defendant furnishers. Thus, the Defendants, including Defendant Riverside, were all a

proximate cause of the actual damages suffered by the Plaintiffs.

   IV.      Conclusion

   For these reasons, Plaintiffs request that the Court deny Defendant Riverside Federal

Credit Union’s Motion to Dismiss in its entirety.

   Respectfully submitted this 1st day of May 2018.

                                           By: /s/ Susan M. Rotkis
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                              CERTIFICATE OF SERVICE

         I hereby certify that on May 1, 2018, I electronically filed the foregoing with the

Clerk of the Court using the ECF system, which will send notice of such filing to all

attorneys of record in this matter.

                                           By: /s/ Susan M. Rotkis________
                                           Susan M. Rotkis, VSB#40693
                                           Counsel for Plaintiffs



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